Case 6:06-Cr-60107-AA Document 3 Filed 04/03/07 Page 1 of 1

USA-15300nsent to Transfer of Case for P|ea and Sentence (Under Rule 20)

In thc United States District Coun _ __ ______

for the DISTRICT OF OREGON

 

UNITED sTATEsoF AMERICA
V- cRIMINAL NUMBER; 06-60107-AA

JENN|FER LYNN KOLAR, aka “Diver"

 

 

Consent to Transfer of Case for Plea
and Sentence
(Under Rule 20)

I, JENN'FER LYNN KOLAR , defendant, have been informed that an (»z`ndiment, infonnatz'on, complains is

 

pending against me in the above designated cause. l wish to plead guilty to the offense
charged, to consent to the disposition of the case in the W€Sfem District of
Wash'ngt°n in Whichl, am held , (am under arrest, am held) and to Waive trial m the

above captioned District.

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(Cou?n]:or Dejéndm€)`
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(Assisiant Uniced Scates Attorney)

 

Approved

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4¢!/ United States Attorney for the lte es orney for_the

District of Westem District of

 

Oregon Washington

 

